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AO 245B (CASDRev. 01/19) Judgment in a Criminal Case for Revocations

_ UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT GF CALIFORNIA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
, . (For Revocation of Probation or Supervised Release)

Vv (For Offenses Committed On or After November 1, 1987)

DAVON LAJUAN ABEL ( 1} Case Number: 13CR1687-H

David J. Zugman
Defendant’s Attorney

Registration Number: 38680-298
Cc -

THE DEFENDANT:

admitted guilt to violation of allegation(s)No. . 3,

L] was found guilty in violation of allegation(s) No. - after denial of guilty.

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number Nature of Violation .
3 nvl, Committed a federal, state or local offense

Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 6 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant’s economic circumstances.

January [1,202].
Date of Imposition of Sentence

 

HONORABWLE MARILYN F
_ UNITED STATES DISTRICT JUDGE

 

 

FILED

JAN 11.2021

 

 

 

 

CLERK US DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

BY DEPUTY . |
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IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:

12 MONTHS AND 1 DAY TO RUN CONCURRENT WITH THE SENTENCE IMPOSED IN SUPERIOR COURT OF
CALIFORNIA, COUNTY OF SAN DIEGO (CENTRAL DIVISION) CASE NO. CD285117.

Cl The court makes the following recommendations to the Bureau of Prisons:

Cl The defendant is remanded to the custody of the United States Marshal.

11 The defendant must surrender to the United States Marshal for this district:

 

‘Oat AM, on
C1 as notified by the United States Marshal.
The defendant must surrender for service of sentence at the institution designated by the Bureau of
Prisons:
[| on or before
L! as notified by the United States Marshal.
LI as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on 7: to
at ; | , With a certified copy of this judgment.
UNITED STATES MARSHAL

 

By DEPUTY UNITED STATES MARSHAL

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DEFENDANT: DAVON LAJUAN ABEL Lh)
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SUPERVISED RELEASE
Upon release from imprisonment, the defendant will be on supervised release for a term of:
2 YEARS.

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MANDATORY CONDITIONS

The defendant must not commit another federal, state or local crime.

The defendant must not unlawfully possess a controlled substance.
The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a -

controiled substance, The defendant must submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more than
4 drug tests per month during the term of supervision, unless otherwise ordered by the court.

CThe above drug testing condition is suspended, based on the court's determination that the defendant poses a low

risk of future substance abuse. (check if applicable)

C)The defendant must make restitution in accordance with 18.U.S.C. §§ 3663 and 3663A or any other statute authorizing a
sentence of restitution. (check if applicable)
iThe defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
LiThe defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in.
the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if applicable)

7. UThe defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.

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STANDARD CONDITIONS OF SUPERVISION

As part of the defendant’s supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant’s behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the court
about, and bring about improvements in the defendant’s conduct and condition.

1. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
office or within a different time frame.

2. Afier initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer as
instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked. by their probation officer.

5. The defendant must live at a place approved by the probation officer, Ifthe defendant plans to change where they live or anything
about their living arrangements (such as the people living with the defendant}, the defendant must notify the probation officer at
least 10 days before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
the defendant must notify the probation officer within 72 hours of becoming aware of a change or expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
view, ,

7. The defendant must work full time (at least 30 hours per week} at a lawful type of employment, unless the probation officer
excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
time employment, unless the probation officer excuses the defendant from doing so. If the defendant pians to change where the
‘defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant knows
someone has been convicted of a felony, they must not knowingly communicate or interact with that person without first getting
the permission of the probation officer.

9. Ifthe defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72
hours.

10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
as nunchakus or tasers).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court, -

12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation officer
may require the defendant to notify the person about the risk and the defendant must comply with that instruction. The probation
officer may contact the person and confirm that the defendant notified the person about the risk.

13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.

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SPECTAL CONDITIONS OF SUPERVISION

Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a
reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of
a violation of a condition of release; failure to submit to a search may be grounds for revocation; the
defendant shall warn any other residents that the premises may be subject to searches pursuant to this
condition.

Report vehicles owned or operated, or in which you bave an interest, to the probation officer.

Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and
counseling, as directed by the probation officer. Allow for reciprocal release of information between the
probation officer and the treatment provider. May be required to contribute to the costs of services rendered

' in an amount to be determined by the probation officer, based on ability to pay.

10.

Resolve all outstanding warrant within 60 days..

Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or
data storage devices or media, and effects to search at any time, with or without a warrant, by any law
enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer’s
duties. 18 U.S.C, §§ 3563 (b)(23); 3583 (d)(3).

Not associate with, or have any contact with any sex offenders unless in an approved treatment and/or
counseling setting.

Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material,

or through any third-party communication, with the victim or victim’s family, without prior approval of the
probation officer.

Not accept or commence employment or volunteer activity without prior approval of the probation officer,
and employment should be subject to continuous review and assessment by the probation officer.

Reside in a residence approved in advance by the probation officer, and any changes i in residence shall be
pre-approved by the probation officer.

Complete a sex offender evaluation, which may include periodic psychological, physiological testing, and
completion of the ABEL assessment, at the direction of the court or probation officer; and that the offender
participate and successfully complete an approved state-certified sex offender treatment program, including
compliance with treatment requirements of the program. The offender will allow reciprocal release of
information between the probation officer and the treatment provider. The offender may also be required to
contribute to the costs of services rendered in an amount to be determined by the probation officer, based on

ability to pay.

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11. Not possess any firearms.

12. Not associate with any felons.

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